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 May 8, 2020


 VIA E-MAIL
 Peter G. Eikenberry, Esq.
 7 Hanover Square, 8th Flr.
 New York, NY 10004

 Re:    Roe v. St. John’s University, et al.
        Index Number 19-CV-04694 (PKC)

 Dear Mr. Eikenberry

          This firm is counsel to St. John’s University (“SJU”) in the above referenced action.
 Enclosed, in accordance with Judge Chen’s Order dated March 27, 2020, please find a copy of
 SJU’s notice of motion, its memorandum of law in support of its motion to dismiss the Second
 Amended Complaint and, in the alternative, to correct the caption, the declaration of Joshua S.
 Hurwit, and supporting exhibits. Copies of the same will be electronically filed once the motion
 is fully briefed.

 Sincerely,

 /s/Lyle S. Zuckerman

 Lyle S. Zuckerman


 Enclosures
 cc: Melissa Marie Carvalho, Esq. (via e-mail)
